                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

AMERICAN CIVIL LIBERTIES UNION OF
MASSACHUSETTS, INC.,
                  Plaintiff,
    v.
                                                  No. 1:22-cv-10407-PBS
U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT,
                  Defendant.

                            JUDGMENT

SARIS, D.J.

      In accordance with this Court's August 9, 2023 Memorandum and Order

which, following in camera review of challenged redactions, allowed in part and

denied in part the Defendant's Motion for Summary Judgment and the Plaintiffs

Cross-Motion for Summary Judgment, and Ordered that the Government remove

specific withholdings contained in the documents within 60 days of such order, it is

now ORDERED that the following materials which were initially withheld under

FOIA Exemptions (b)(5) or (b)(7)(E) shall be disclosed by October 9, 2023:

         •    Vaughn index Entries 2, 19, 24, 33, 35, 37, and 40

         • In Vaughn index Entry 3, the first redaction and first paragraph of the

              second redaction at Bates O12

          • In Vaughn index Entry 5, the fifth bullet point of Bates 027

          • In Vaughn index Entry 6, Bates 030

          • In Vaughn index Entry 7, the first three redactions on Bates 034

          • In Vaughn index Entry 8, the first redaction on Bates 036
